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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )
                                                 )
 RICHARD W. GATES III,                           )             Crim. No. 17-201-2 (ABJ)
                                                 )
                Defendant.                       )


DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION FOR PERMISSION
                          TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to travel to a meeting,

specified in Exhibit 1 and Exhibit 2, which will take place outside the jurisdiction of his release

conditions. The Special Counsel does not oppose this motion.

       If the Court grants the limited permission to travel for the trip, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trip, including the information

identified in Exhibit 1 and Exhibit 2 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves the Court to grant him permission

to travel according to the limits specified above and in Exhibit 1 and Exhibit 2.


                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
                                                      Thomas C. Green
                                                      D.C. Bar No. 14498
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                                  Attorney for Richard W. Gates III




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      )
                                               )
                v.                             )
                                               )
 RICHARD W. GATES III,                         )            Crim. No. 17-201-2 (ABJ)
                                               )
                Defendant.                     )




                                            ORDER

       Upon consideration of Defendant Richard W. Gates III’s Unopposed Motion for

Permission to Travel, and finding good cause shown, it is this ___ day of February, 2019, hereby

       ORDERED, that the motion is GRANTED.



                                            _______________________________________
                                            AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE




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